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                                             AFFIDAVIT

                                   Introduction and Background

       I, Justin D Koble, Postal Inspector with The United States Postal Inspection Service, being duly
sworn, depose and say:
   1. I am a United States Postal Inspector with the United States Postal Inspection Service (USPIS)
       and have been so employed since July 2014. I am currently assigned to the Narcotics and Money
       Laundering Team at the USPIS’s Columbus, Ohio field office. In this capacity, I am responsible
       for investigating the illegal use of the United States Mails for the purpose of transporting
       controlled substances such as methamphetamine, heroin, fentanyl, fentanyl-related analogs,
       cocaine, and other controlled substances, in violation of, among other statutes, Title 21, United
       States Code, § 841(a)(1) (manufacturing, distribution, or possession with the intent to
       manufacture or distribute a controlled substance), 843(b) (unlawful use of a communication
       facility in the commission of a crime), and 846 (drug conspiracy). In addition, I am responsible
       for investigating possible violations of Title 18, United States Code, § 1956 and 1957 (money
       laundering).
   2. I have been involved in the investigation and discovery of drug contraband and drug proceeds on
       numerous occasions. I have personally been the affiant for search warrants that have resulted in
       the discovery of controlled substances and drug proceeds. My current assignment to the
       Columbus Processing and Distribution Center (P&DC) involves investigating the use of the U.S.
       Mails by drug traffickers, in which established drug package profiles, surveillance, and drug
       detection dogs, among other investigative tools, are utilized.
   3. The facts in this affidavit come from my personal observations, my training, experience, and
       information obtained from other law enforcement personnel and from persons with knowledge
       regarding relevant facts and witnesses. This affidavit is intended to show merely that there is
       sufficient probable cause to find violations of Title 21, United States Code, Sections 841(a)(1)
       and (b)(1)(A)(viii) (possession with intent to distribute 500 grams or more of a mixture or
       substance containing a detectable amount of methamphetamine) and Section 843 (prohibited use
       of a communication facility- U.S. mail) in support of the requested criminal complaint and arrest
       warrant.
   4. Since this affidavit is being submitted for the limited purpose of securing an arrest warrant and
       criminal complaint, your affiant did not include each and every fact known concerning this
       investigation. Your affiant has set forth only the facts that are believed to be necessary to



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   establish probable cause that Jermaine C, Jeffries (“JEFFRIES”) committed the violations listed
   above.

                        Facts Supporting Findings of Probable Cause

5. On or about December 5, 2022, USPIS interdiction personnel in Columbus, Ohio interdicted the
   United States Priority Mail parcel bearing United States Postal Service (“USPS”) tracking
   number 9505 5138 2071 2337 3777 10 (hereinafter referred to as the “SUBJECT PARCEL”),
   upon arrival at the USPS Reynoldsburg Main Post Office, 7185 East Main Street, Reynoldsburg,
   Ohio 43068. The SUBJECT PARCEL is addressed to “J. Horton, 2870 Arrowsmith. DR,
   Reynoldsburg, OH 43068” with a return address of “Tint & Audio Experts, 11545 Artesia Blvd,
   Artesia, Ca 90701”. The SUBJECT PARCEL is a white, USPS Priority Mail size medium flat
   rate box measuring approximately 12” x 3 1/2” x 14 1/8” and weighing approximately 6 pounds,
   15.6 ounces. The SUBJECT PARCEL was mailed from the USPS Bellflower Main Post Office,
   9835 Flower Street, Bellflower, California 90706 on or about December 3, 2022, at
   approximately 1:18pm PST. The $17.05 in United States postage affixed to the SUBJECT
   PARCEL was paid for using cash.
6. Among the characteristics of the drug profile possessed by the SUBJECT PARCEL was the
   “source state” origination of the parcel, as well as the destination of the SUBJECT PARCEL. US
   Postal Inspectors, Special Agents of the Drug Enforcement Administration (“DEA”), and other
   intelligence sources have identified California as a source state for illegal drugs flowing into
   Central Ohio and a destination state for the proceeds from the sale of these illegal drugs. Based
   on my training and experience, I know drug traffickers frequently utilize various shipping and
   mail entities, including the United States Postal Service, for the shipment of controlled
   substances. Frequently the same shipping entity utilized for the shipment of controlled
   substances is also utilized for the shipment of the proceeds derived from the sale of these
   controlled substances.
7. On or about December 5, 2022, checks of USPS, law enforcement, and open-source electronic
   databases were conducted to determine the validity of the destination information contained on
   the SUBJECT PARCEL. The destination address, “2870 Arrowsmith. DR,” was found to be a
   valid and deliverable address in the 43068 zip code. The name “J. Horton” was not found to be
   associated with this address. Further, checks of USPS, law enforcement, and open-source
   electronic databases were conducted to determine the validity of the return information contained
   on the SUBJECT PARCEL. The return address, “11545 Artesia Blvd,” was found to be a valid
   and deliverable address in the 90701 zip code. A business named “Tint & Audio Xperts” was


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   found to be in operation at this address. It was noted the business spells Experts,“Xperts”, as
   opposed to the spelling indicated on the SUBJECT PARCEL.
8. Regarding both the above-described return and destination addresses, I know through training and
   experience, that shippers of drugs and drug proceeds will often utilize a valid business name
   and/or address without the knowledge or consent of the business to legitimize the shipment and to
   reduce the possibility of identification and apprehension by law enforcement. Additionally, while
   a valid delivery address is necessary to ensure the delivery of a parcel, a fictitious delivery name
   is often utilized for the same reasons previously discussed.
9. On December 5, 2022, a federal search warrant authorizing the search and seizure of the
   SUBJECT PARCEL was signed in the Southern District of Ohio by the honorable Chelsey M.
   Vascura, United States Magistrate Judge. The search warrant was executed the same day.
10. The SUBJECT PARCEL was found to contain approximately 2,903 grams of a white crystalline
   substance which field tested positive for methamphetamine. Based on my training and
   experience, this quantity of methamphetamine is a distribution quantity.
11. The contents of the SUBECT PARCEL were repackaged, using approximately 2 pounds of
   suspected methamphetamine, with the remainder being replaced by a substance resembling
   methamphetamine. A GPS tracking device and parcel beeper were placed into the SUBJECT
   PARCEL.
12. On December 6, 2022, at approximately 11:24am EST, the SUBJECT PARCEL was delivered to
   2870 Arrowsmith Drive, Reynoldsburg, Ohio 43068 by an undercover US Postal Inspector
   serving in an undercover capacity as a USPS Letter Carrier. The SUBJECT PARCEL was left on
   the front porch of the residence, which is consistent with the delivery of normal USPS parcels.
13. Through the use of USPS, law enforcement, and open-source electronic databases, law
   enforcement knows 2870 Arrowsmith Drive, Reynoldsburg, Ohio 43068 to be the residence of
   JEFFRIES.
14. On December 6, 2022, at approximately 1:19pm EST, JEFFRIES was observed exiting the front
   door of the residence. JEFFRIES briefly looked at the SUBJECT PARCEL before walking to a
   vehicle which was parked in the driveway. A short time later, JEFFRIES walked back toward his
   residence, picked up the SUBJECT PARCEL and took it into the residence.
15. On December 6, 2022, at approximately 1:40pm EST, a search warrant for 2870 Arrowsmith
   Drive, Reynoldsburg, Ohio 43068, which had previously been granted in the Southern District of
   Ohio, was executed at the residence. The SUBJECT PARCEL was found, unopened, near the
   front door of the residence.



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   16. During the execution of the search warrant at the residence, law enforcement discovered bulk
       currency and a scale with suspected drug residue on it in a hidden compartment in the basement,
       as well as packaging materials consistent with the packaging and distribution of
       methamphetamine.


                                                    Conclusion
   17. Based on the facts set forth in the Affidavit, I maintain there is probable cause to believe that
       Jermaine Jeffries, did knowingly possess with intent to distribute 500 grams or more of a mixture
       or substance containing a detectable amount of methamphetamine, in violation of Title 21 United
       States Code, Sections 841(a)(1) and (b)(1)(A)(viii) and did knowingly or intentionally use a
       communication facility, namely the United States mail, to facilitate the commission of said
       offense, in violation of Title 21 United States Code, Section 843(b). Therefore, your affiant
       respectfully requests this court issue a criminal complaint and arrest warrant for the above
       individual.

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                                                                           _ __________________
                                                             _____________________________________
                                                                                                  Ko
                                                                                        Justin D. Koble
                                                                          United States Postal Inspector

Sworn to before me, and subscribed in my presence, this ____ day of December 6, 2022, in Columbus,
Ohio.

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____________________________________
 HELSEY M.
CHELSEY    M. VASCURA
 nited Statess Magistrate Judge
United




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